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                                     IN THE UNITED STATES DISTRICT COURT

                                          FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,                                        )
                                                                 )
                        Plaintiff,                               )
                                                                 )
vs.                                                              )         NO. CR 07-1927 BB
                                                                 )
ALONSO P. GRADO,                                                 )
                                                                 )
                        Defendant.                               )


                             MOTION TO DISMISS SUPERSEDING INDICTMENT

            The United States of America moves this Court to dismiss the Superseding

Indictment in this matter pursuant to the plea agreement entered into by the parties.

            WHEREFORE, the United States respectfully requests this Court enter an Order

dismissing the Superseding Indictment without prejudice as to Defendant ALONSO P.

GRADO.

                                                                     Respectfully submitted,

                                                                     GREGORY J. FOURATT
                                                                     United States Attorney


                                                                     Electronically Filed 6/25/09
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I HEREBY CERTIFY that I electronically
filed the foregoing with the Clerk of the
Court using the CM/ECF system which
will send electronic notification to defense
counsel of record.

Electronically Filed 6/25/09
RENEE L. CAMACHO
Assistant U.S. Attorney
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